NON-NEGOTIABLE NOTICE OF COMPELLED PERFORMANCE

Notice Date: Day: Fourteen Month: Two Year: 2023 CE

Allen H. Orenberg

The Orenberg Law Firm, P.C.

12505 Park Potomac Avenue, 6th Floor
Potomac, Maryland 20854

In reply to: “From: Allen Orenberg<aorenberg@orenberglaw.com>

Date: On Mon, Feb 13, 2023 at 11:00 AM

Subject: Fwd: 21-91-RCL

Hi Mr. Johnatakis: Mrs. Jacob and | plan to file a motion requesting Judge Lamberth to hold a
scheduling conference since we do not have any “scheduling orders” other than the trial date (May 15,
2023) — and we heard last week from another attorney (Troy Nixon) that the Court double-booked our
trial with his trial for the week of May 15 the . Furthermore, my severance motion is pending. Will you
consent (or otherwise join) in my filing a request asking the Court to conduct (by zoom) a scheduling
conference in the near future? Thank you,

Allen H. Orenberg The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue, 6th Floor Potomac,
Maryland 20854 301-984-8005 (Office) 301-807-3847 (Cell) 301-984-8008 (Fax) ”

PLEASE TAKE NOTICE that I, Taylor James Johnatakis, a sentient moral being recognize
compelled performance, however I am unaware of any International Admiralty/Maritime Contract or
Commercial Agreement bearing my signature that would cause me to acquiesce to your offer to consent
or otherwise join any motion, furthermore If you would bring the International Admiralty/Maritime
Contract or Commercial Agreement that bears my signature, I will review it and obey it to the letter of
the law.

I reserve all of my rights with explicit reservation and without prejudice,

Sincerely,

jogo fpr pobre

Taylor James Johnatakis
c/o 29628 Gamble Place NE
Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004

cc: Angela D, Caesar, Clerk of Court United States District Court District of Columbia 333 Constitution Avenue N.W.
Washington, D.C. 20001

ce: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

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